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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION

                             Case No. 1:21-cv-20443-DPG


    ODETTE BLANCO DE FERNANDEZ née
    BLANCO ROSELL, et al.,

                           Plaintiffs,
          v.

    CROWLEY HOLDINGS, INC.; CROWLEY
    MARITIME CORPORATION; CROWLEY
    LINER SERVICES, INC.; CROWLEY LATIN
    AMERICA SERVICES, LLC; and CROWLEY
    LOGISTICS, INC.

                           Defendants.


     DEFENDANTS’ MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
               AND INCORPORATED MEMORANDUM OF LAW
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         Defendants Crowley Holdings, Inc., Crowley Maritime Corporation, Crowley Liner

  Services, Inc., Crowley Latin America Services, LLC, and Crowley Logistics, Inc. (collectively

  “Crowley” or “Defendants”), pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6),

  move this Court for an order dismissing the Second Amended Complaint (hereinafter the

  “Complaint”) in its entirety, with prejudice.

                                          INTRODUCTION

         The Plaintiffs in this case seek “in excess of $1 billion” (ECF No. 1-1) from Crowley

  because it allegedly “called” at a container terminal in the Port of Mariel in Cuba over which

  Plaintiffs allege they hold a “claim” under Title III of the Cuban Liberty and Democratic Solidarity

  (LIBERTAD) Act, 22 U.S.C. § 6021, et seq. (the “Act” or the “Helms-Burton Act”). Title III

  creates a potential cause of action for U.S. nationals against any person, corporation, or foreign

  government that “traffics” in property previously belonging to a U.S. national that was confiscated

  by the Cuban government in the 1960s. Plaintiffs make these claims notwithstanding the fact that

  much of the property in which the Plaintiffs allege Crowley “traffics” did not exist until nearly

  fifty years after the property was allegedly confiscated, and notwithstanding the fact that Crowley

  has consistently been expressly authorized by the U.S. government to ship goods to Cuba.

  Crowley has not violated Title III, and the Complaint should be dismissed for four reasons.

         First, the Plaintiffs do not have Article III standing and, consequently, this Court lacks

  subject matter jurisdiction over their claim. Even assuming the allegations in the Complaint

  showed that Crowley has violated the Helms-Burton Act (which they do not), the Plaintiffs must

  still show that they have been injured in some concrete way by Crowley’s conduct, rather than the

  unilateral acts of the Cuban government. Because they cannot, they have not suffered any injury-

  in-fact fairly traceable to Crowley sufficient to support Article III standing.



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          Second, the Complaint fails to state a claim. Not only do the Plaintiffs not own a “claim”

  to the property they allege Crowley uses when it calls at the Port of Mariel (because much of that

  property did not exist until nearly fifty years after the Plaintiffs’ property was allegedly

  confiscated), but, even if they did, the allegations fall short of demonstrating that Crowley’s

  conduct falls within any of the definitions of “traffics” under the Act. Moreover, fundamentally,

  Plaintiffs have failed to show that they had any right to the property they allege was confiscated at

  the time they allege it was confiscated from them.

          Third, none of the Plaintiffs are eligible to sue under Title III of the Helms-Burton Act.

  The Complaint does not demonstrate that any of these Plaintiffs own a claim to the property in

  which they allege Crowley “traffics.” Moreover, under Title III, a plaintiff must have acquired its

  “claim” to the property at issue before March 12, 1996. A plaintiff must also be either a U.S.

  citizen or an entity which is organized under the laws of the U.S. and has its principal place of

  business in the U.S. Plaintiffs do not meet those threshold criteria.

          Fourth, Title III is facially unconstitutional because its liability provisions are vague, and

  its remedy provisions are oppressive, arbitrary, and grossly disproportionate to the conduct Title

  III purports to curtail.

          Accordingly, the Complaint should be dismissed in its entirety, with prejudice.

                                    FACTUAL BACKGROUND

          In 1996, Congress enacted the Helms-Burton Act primarily to codify and expand economic

  sanctions against Cuba. See 22 U.S.C. § 6022(2). Title III of that Act was designed to deter U.S.

  and foreign companies from doing business with Cuba and thereby supporting the Cuban socialist

  regime. See 22 U.S.C. § 6081(5). In furtherance of that goal, Title III provides a private right of

  action that allows a U.S. national who owns a claim to property that was confiscated by the Cuban



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  government to sue any person who “traffics” in that property. 22 U.S.C. § 6082(a)(1)(A). The

  Act, however, defines “traffics” broadly, including both direct and indirect uses of confiscated

  property. See 22 U.S.C. § 6023(13)(A).

         From its inception, Title III was severely criticized. To that end, Congress gave the

  President the authority to suspend Title III at six-month intervals if “such suspension is necessary

  to the national interests of the United States and will expedite a transition to democracy in Cuba.”

  22 U.S.C. § 6085(c)(1)(B). Accordingly, between the Act’s passage in 1996 and May 2, 2019,

  every single President, including Presidents Clinton, Bush, Obama, and Trump, suspended Title

  III, leaving it ineffectual. But then, on May 2, 2019, the Trump Administration let the suspension

  lapse, which allowed Title III to become fully effective for the first time. See Compl. ¶ 69.

          In their Complaint, Plaintiffs allege that in 1960, the Cuban government issued and

  published a confiscation order that confiscated several companies owned by Odette Blanco de

  Fernandez and her siblings. 1 Compl. ¶ 2. Those companies allegedly owned a 70-Year concession

  that allowed one of their companies (Maritima Mariel SA) to “plan, study, execute, maintain, and

  exploit public docks and warehouses in the Bay of Mariel Bay, province of Pinar del Rio Province,

  and the construction of new buildings and works, without prejudice to the rights acquired by third

  persons or entities under previous concessions still in force[,]” Compl. ¶ 89 (hereinafter, the “70-

  Year Concession”); and approximately 11,000 acres of land near the Port of Mariel (the “11,000

  acres”) (collectively, the “Confiscated Property”). Id. ¶ 94.

         Plaintiffs also allege that in 2009—nearly fifty years after their property was confiscated—

  the Cuban government created the Zona Especial De Desarollo Mariel (“ZEDM”), and the



  1
    Each of Ms. Blanco de Fernandez’s siblings have died; thus seventeen plaintiffs seek to bring
  claims on behalf of her siblings’ estates and in their personal capacities as estate beneficiaries of
  Ms. Blanco de Fernandez’s siblings’ purported claims to the Confiscated Property.

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   Terminal de Contenedores del Mariel (“TCM” or the “Container Terminal”) which redeveloped

   the Port of Mariel and “incorporated” the Confiscated Property into the ZEDM. Compl. ¶ 32; Id.

   § III. The Complaint goes on to allege that the TCM is operated by Almacenes Universales S.A.

   (“AUSA”), a Cuban-owned comprehensive logistics operator. Id. ¶ 42. Notwithstanding the fact

   that Plaintiffs never had any property interest in the ZEDM’s container terminal—indeed, that

   terminal did not even exist until nearly fifty years after the Cuban government confiscated the

   property—Plaintiffs allege that Crowley “traffics” in their Confiscated Property because it allegedly

   calls at, and uses, the container terminal in the ZEDM. Id. ¶ 113.

                                              ARGUMENT

      I.      PLAINTIFFS LACK ARTICLE III STANDING

           Pursuant to Rule 12(b)(1), Plaintiffs lack Article III standing because they have not

   suffered a concrete and particularized injury that is fairly traceable to Crowley’s alleged conduct.

   The Complaint should therefore be dismissed in its entirety for lack of subject matter jurisdiction.

           A plaintiff’s standing to sue is an “irreducible” element of the Constitution’s requirement

   that Article III courts are vested with the limited power of deciding only “cases” or “controversies.”

   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). If a plaintiff cannot meet its burden to

   demonstrate Article III standing, a federal court does not have subject matter jurisdiction, and it

   must dismiss the case. Id. at 561. To demonstrate standing, a plaintiff must be able show: (1) an

   “‘injury in fact’—an invasion of a legally protected interest” that is concrete and particularized,

   and actual or imminent, not conjectural or hypothetical; (2) that is fairly traceable to the

   defendant’s conduct; and (3) that would be “redressed by a favorable decision.” Id. at 560-61.

           Here, the Plaintiffs have not suffered an injury in fact that is fairly traceable to Crowley’s

   alleged conduct for at least three reasons. First, even taking all of the allegations in the Complaint



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   as true, Plaintiffs do not allege that they ever had a legally protected interest in excluding or

   controlling Crowley’s alleged use of the Port of Mariel. Second, even if they ever had such an

   interest, they have not suffered any concrete or particularized injury as a result of Crowley’s

   alleged “trafficking” over sixty years after that interest was extinguished by the Cuban

   government. And third, any injury the Plaintiffs may have suffered is not fairly traceable to

   Crowley.

              A. Plaintiffs Do Not Have, and Have Never Had, a Legally Protected Interest in
                 Excluding or Controlling Crowley’s Calling at the ZEDM Container Terminal

          The allegations in the Complaint do not show that Plaintiffs have a legally protected

   interest in excluding, restricting, or otherwise conditioning Crowley’s alleged use of the container

   terminal in the ZEDM. 2 The Plaintiffs have never owned, or had control over, the container

   terminal in which they allege Crowley “traffics.” And, as explained in more detail in Sections I(c)

   II, and III(a), infra, the Complaint contains no plausible allegations that Crowley “traffics” in the

   expropriated companies or 11,000 acres of land.

          Plaintiffs’ allegations focus on Crowley’s alleged trafficking in the container terminal in

   the ZEDM. See, e.g. Compl. ¶ 114 (“When at the Port of Mariel, the container ships call at, and/or

   otherwise use, benefit, and profit from the Container Terminal in the ZEDM including the ZEDM’s

   ports, docks, warehouses, and facilities.”). But the Plaintiffs only allege that they have a “claim”

   to the 70-Year Concession which references “ports, docks, warehouses, and facilities[,]” not the

   container terminal that now exists in the ZEDM. Id. ¶¶ 89, 114. Even if Plaintiffs have a claim


   2
    As an initial matter, Plaintiffs do not allege (nor could they) that they currently own, or otherwise
   have any interest in any property at the Port of Mariel. To the extent they ever did, their interests
   were extinguished when the Cuban government expropriated the Confiscated Property. Glen v.
   Club Mediterranee, S.A., 450 F.3d 1251, 1255 (11th Cir. 2006) (finding that the Cuban
   government’s confiscation of the property at issue extinguished the ownership rights of those from
   whom the property was taken).

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   to the 70-Year Concession they allege was confiscated, that concession grants no rights whatsoever

   in the container terminal in which Plaintiffs allege Crowley “traffics.”

           Moreover, the plain terms of the Concession reveal that the Plaintiffs’ rights to “plan, study,

   execute, maintain, and exploit [the] public docks and warehouses in the Bay of Mariel” were

   “without prejudice to the rights acquired by third persons or entities under previous concessions

   still in force[.]” Compl. ¶ 89 (emphasis added). By its explicit terms, then, the 70-Year Concession

   never gave Plaintiffs the exclusive right to determine who may use the public docks and

   warehouses in the Port of Mariel. 3 Thus, while the Complaint states that Crowley never received

   permission from the Plaintiffs to dock and unload goods at the container terminal, it does not raise

   a plausible inference that Crowley ever would have needed the Plaintiffs’ permission in the first

   place—even if the Cuban government had not confiscated the 70-Year Concession. If Crowley

   never would have needed the Plaintiffs’ permission to conduct any of the activities alleged in the

   Complaint, it cannot possibly have invaded Plaintiffs’ purported legally protected interest sixty

   years later.

                  B. Plaintiffs Have Not Been Harmed by Crowley’s Alleged “Trafficking” and,
                     Therefore, Have Not Suffered an Injury in Fact

           Even if the Plaintiffs have a statutory right under the Helms-Burton Act in being free from



   3
     While Plaintiffs assert that, “[w]hen the 70-Year Concession was granted to Maritima Mariel,
   there were no previous concessions in force,” (Compl. ¶ 89), just two paragraphs later, Plaintiffs
   undermine that very assertion by alluding that there were, in fact, previous concessions still in
   force. Id. ¶ 91 (stating that the 70-year Concession gave Plaintiffs priority rights over any other
   concession rights in the Bay of Mariel, “including any such rights acquired by third persons or
   entities under previous concessions still in force at the time the 70-year Concession was granted
   to Maritima Mariel” (emphasis added)). Notwithstanding the internal inconsistency of Plaintiffs’
   allegations, if there were previous concessions still in force, the Plaintiffs do not explain how their
   rights were exceptional or even what “exceptional” means in this context. Indeed, the plain
   language of the 70-Year Concession says exactly the opposite—that the Plaintiffs’ rights under it
   are not superior “to the rights acquired by third persons or entities under previous concessions still
   in force[.]” Id. ¶ 89.

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   third parties “trafficking” in confiscated property to which they have a claim, the violation of that

   statutory right, on its own, is not enough to assert Article III standing. Instead, even if Crowley

   “trafficked” in confiscated property to which the Plaintiffs have a claim (which it did not), the

   Plaintiffs must still demonstrate that Crowley’s alleged “trafficking” has harmed them in some

   concrete way in order to show Article III standing. Plaintiffs have failed to do so.

          Article III standing requires more than a defendant’s mere statutory violation. Whether or

   not the defendant has violated a statute, the plaintiff must actually suffer an injury as a result of

   the defendant’s invasion of a legally protected interest held by the plaintiff. Spokeo, Inc. v. Robins,

   136 S. Ct. 1540, 1549 (2016) (“Article III standing requires a concrete injury even in the context

   of a statutory violation.”). While Congress may use its legislative power to identify harms and

   grant rights of action to recover for them, “Congress cannot erase Article III’s standing

   requirements by statutorily granting the right to sue to a plaintiff who would not otherwise have

   standing.” Id. at 1547-48 (emphasis added). Accordingly, to demonstrate standing, a plaintiff

   must show some injury beyond the violation of rights afforded to them by a statute in order to

   demonstrate an injury in fact—that is, the injury must be independent from a defendant’s mere

   statutory violation. Spokeo, 136 S. Ct. at 1549; see Tarr v. Burger King Corp., No. 17-cv-23776,

   2018 WL 318477, *7 (S.D. Fla. Jan. 5, 2018) (“Congress’s judgment that there should be a legal

   remedy for the violation of a statute does not mean each statutory violation creates an Article III

   injury.” (citation omitted)). Indeed, as the Eleventh Circuit recently explained, “a party does not

   have standing to sue when it pleads only the bare violation of a statute.” Muransky v. Godiva

   Chocolatier, Inc., 979 F.3d 917, 920 (11th Cir. 2020) (en banc). Rather, “an injury in fact [must]

   accompan[y] a statutory violation.” Id. at 930 (emphasis added). Thus, it is well-settled that the

   mere violation of a right conferred by statute is insufficient, on its own, to demonstrate an injury



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   for purposes of Article III standing. See Spokeo, 136 S. Ct. at 1549; Thole v. U.S. Bank N.A., 140

   S. Ct. 1615, 1619-21 (2020) (holding that even if the defendants had violated the Employee

   Retirement Income Security Act—which granted the plaintiffs a private right of action—the fact

   that the defendants’ conduct did not, in fact, harm the plaintiffs left them without standing to sue);

   Muransky, 979 F.3d at 920-21; Glen v. Am. Airlines, Inc., No. 4:20-CV-482-A, 2020 WL 4464665,

   *2 (N.D. Tex. Aug. 3, 2020). Yet, a mere statutory violation is all Plaintiffs have alleged.

          Taking the allegations as true, Plaintiffs are in the same position today as they were before

   Crowley ever began shipping goods to Cuba. In fact, they are in the same position today as they

   were on September 29, 1960, when the Cuban government confiscated their property. Nothing

   Crowley has done has affected the likelihood that the Plaintiffs will be compensated by the Cuban

   government for the Confiscated Property; nothing Crowley has done has affected the likelihood

   that the Cuban government will return the Confiscated Property; and nothing Crowley has done

   has affected Plaintiffs’ ability to control the Confiscated Property or who uses it. Indeed, nothing

   Crowley has done has harmed the Plaintiffs. Therefore, whether or not Crowley violated the

   Helms-Burton Act, Plaintiffs have not demonstrated that Crowley’s conduct injured them in any

   way that would support Article III standing.

          Glen is instructive on this point. There, the plaintiff alleged that the defendant had violated

   the Helms-Burton Act by taking commissions on its customers’ reservations at hotels that are

   located on property that was confiscated from the plaintiff’s mother and aunt. Glen, 2020 WL

   4464665, at *2. The court dismissed the plaintiff’s suit after finding that the plaintiff had not

   suffered a concrete injury. Id. Just like the Plaintiffs here, the Glen plaintiff’s theory of injury

   was “based entirely on defendant’s alleged violation of the substantive rights given to plaintiff by

   the [Helms-Burton] Act.” Id. But, relying on Spokeo, the court correctly held that the plaintiff



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   had not been injured in any concrete way regardless of whether the defendant had violated the

   Helms-Burton Act. Id. As the court explained, “Plaintiff complains that defendant fails to

   compensate plaintiff when defendant earns commissions on reservations made at the Subject

   Hotels. It is unclear how plaintiff is injured by such an action. Defendant did not deprive plaintiff

   of the Properties or the profits he might make if he owned and operated hotels on the Properties.

   Instead, defendant merely does business with the Subject Hotels.” Id. (internal citation omitted).

          The same is true here. The Plaintiffs allege that Crowley “traffics” in the Confiscated

   Property without their permission and without compensating them. But just as in Glen, Crowley

   “did not deprive plaintiff[s] of the [Confiscated Property] or the profits [they] might make if [they]

   owned and operated” the container terminal. Id. Accordingly, even if Plaintiffs can prove that

   Crowley has violated the Helms-Burton Act (which they cannot), they have not suffered any

   concrete injury and, therefore, do not have Article III standing.

              C. Any Purported Injury Is Not Fairly Traceable to Crowley’s Alleged Conduct

          To the extent the Plaintiffs have suffered any injury at all, their injury is not “fairly

   traceable to Crowley’s alleged “trafficking.” To satisfy the “fairly traceable” nexus requirement

   of the standing analysis, Plaintiffs must demonstrate that their alleged injury is “fairly traceable to

   the challenged action of the defendant.” Kawa Orthodontics, LLP v. Sec’y, U.S. Dept. of the

   Treasury, 773 F.3d 243, 247 (11th Cir. 2014) (quoting Lujan, 504 U.S. at 560). The injury must

   “not [be] the result of the independent action of some third party not before the court.” Id. (quoting

   Lujan, 504 U.S. at 560). Plaintiffs, therefore, do not have standing when an “independent source,”

   rather than Crowley, is responsible for their injuries. Swann v. Sec’y Ga., 668 F.3d 1285, 1288

   (11th Cir. 2012).

          Plaintiffs, here, all but admit that their alleged injury is not traceable to Crowley’s alleged



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   violation of the Act. First, while Plaintiffs allege that Crowley calls at the container terminal in

   the ZEDM and, therefore, that Crowley “traffics” in the 70-Year Concession, Plaintiffs’ only

   allegations that Crowley “traffics” in the land that they claim was confiscated depends entirely on a

   non-party’s decision to allegedly store containers that are offloaded from Crowley ships in the

   container storage yard in the ZEDM. See Compl. ¶ 114. Second, and more broadly, the damages

   Plaintiffs seek have no relationship to Crowley’s trafficking. Plaintiffs do not seek, for example, the

   amount of fees they argue they would have been able to charge Crowley for its alleged use of the

   Port of Mariel. Rather, the damages they seek are solely tied to the value of the Confiscated Property

   itself, which reveals that any injury the Plaintiffs have suffered is traceable to the actions of the

   Cuban government, not to Crowley’s alleged “trafficking.” Compl. ¶ 167. But Crowley may not be

   held liable for the actions of the Cuban government nor of third parties not before this Court.

   Because Plaintiffs’ injuries were “directly caused by a third party who is not a party to the lawsuit,”

   Wehunt v. Ledbetter, 875 F.2d 1558, 1567 (11th Cir. 1989), and because those injuries occurred long

   before, and “regardless of,” Crowley’s conduct, the Plaintiffs cannot show that any injuries they have

   suffered are traceable to Crowley’s alleged “trafficking.” Swann, 668 F.3d at 1289.

                              *                      *                       *

           In an attempt to manufacture standing, Plaintiffs allege they have been injured in nine

   ways. See Compl. ¶ 144. However, none of the purported “injuries” supports Article III Standing.

   Crowley offers the following chart negating each of Plaintiffs’ attempts:

          Plaintiffs’ Allegation(s)                           Crowley’s Response
  “Defendants are profiting without obtaining Plaintiffs are not injured by Crowley’s failure to
  consent from or paying adequate             compensate them or obtain their consent or
  compensation to Plaintiffs[.]” Compl. ¶     authorization. First, Crowley does not need to
  144(a).                                     compensate the Plaintiffs or obtain their consent or
                                              authorization to call at the TCM Container Terminal
  “Defendants are profiting without obtaining because the Plaintiffs do not have any property rights
  authorization   or      paying    adequate in the container terminal. See Glen, 450 F.3d at


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  compensation to Plaintiffs for authorization 1255. Second, as explained, Plaintiffs have not
  to traffic in the confiscated property[.]” demonstrated that Crowley would have needed their
  Compl. ¶ 144(c).                                consent or authorization even if their property had
                                                  not been confiscated. Third, to the extent Plaintiffs
  “Defendants are profiting or otherwise argue that the Helms-Burton Act is what requires
  benefiting from trafficking in the Crowley to obtain their consent or authorization,
  Confiscated Property by or through others Crowley’s alleged failure to do so is not an Article
  without obtaining authorization from, or III injury. It is, at most, a statutory violation and
  paying      adequate      compensation      to, Article III standing requires more than a mere
  Plaintiffs[.]” Compl. ¶ 144(d).                 statutory violation—it requires the Plaintiffs to
                                                  suffer a concrete injury independent from the
                                                  violation of their statutory rights. See Spokeo, 136
                                                  S. Ct. at 1547-48.
  “Plaintiffs are not receiving the benefit of Plaintiffs do not have any “interests” in the
  their interests in the Confiscated Property[.]” Confiscated Property—at best they have an
  Compl. ¶ 144(b).                                uncertified claim to it. Plaintiffs were deprived of
                                                  any “interest” in the Confiscated Property when the
                                                  Cuban government confiscated it, not as a result of
                                                  Crowley’s alleged “trafficking.”
  “Defendants’ trafficking in the Confiscated Plaintiffs were left uncompensated for the
  Property has undermined Plaintiffs’ rights to Confiscated Property for over fifty years before
  compensation         for   the     Confiscated Crowley allegedly began “trafficking” in it. The
  Property[.]” Compl. ¶ 144(e).                   notion that Crowley’s alleged trafficking for the past
                                                  seven years has somehow made it less likely that the
                                                  Cuban government will compensate Plaintiffs for
                                                  their losses is unsupported by any plausible
                                                  allegation in the Complaint. Plaintiffs are just as
                                                  entitled to compensation from the Cuban
                                                  government today as they were in 1960 when the
                                                  Confiscated Property was purportedly taken.
  “Defendants have profited from their use of Nothing in the Complaint supports this bald
  the Confiscated Property at Plaintiffs’ allegation. Crowley’s alleged trafficking has had no
  expense[.]” Compl. ¶ 144(f).                    financial impact on the Plaintiffs.
  “Defendants have denied Plaintiffs the Plaintiffs have not alleged they would have been
  ability to obtain economic rent that could able to collect “economic rent” for Crowley’s
  have been negotiated in exchange for their alleged trafficking even if the Cuban government
  authorization to Defendants to traffic in the had not confiscated their property. Regardless,
  Confiscated Property[.]” Compl. ¶ 144(g).       Crowley’s “alleged violation of the substantive
                                                  rights given to [Plaintiffs] by the [Helms-Burton]
                                                  Act” is, at most, a violation of their statutory rights,
                                                  not a theory of injury that can support Article III
                                                  standing. Glen, 2020 WL 4464665, at *2; see
                                                  Spokeo, 136 S. Ct. 1547-48; Thole, 140 S. Ct. at
                                                  1620-21; Muransky, 979 F.3d at 920-21.
  “Defendants have appropriated from the Plaintiffs went uncompensated by the Cuban
  Plaintiffs the leverage from the Helms- government for 36 years after Cuba confiscated the


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  Burton Act that Plaintiffs would have had on    Confiscated Property and before the Helms-Burton
  the Cuban Government to negotiate               Act was passed. Then, even after the Helms-Burton
  compensation     for     their   Confiscated    Act was passed—giving Plaintiffs the purported
  Property.” Compl. ¶ 144(h).                     leverage of which they now speciously complain
                                                  Crowley has deprived them—they still went
                                                  uncompensated by the Cuban government for an
                                                  additional 18 years before Crowley allegedly began
                                                  “trafficking” in the Confiscated Property.
                                                  Crowley’s alleged “trafficking” has had no impact
                                                  on Plaintiffs’ leverage with the Cuban government,
                                                  and Plaintiffs do not explain what leverage they
                                                  would have if Crowley had not allegedly
                                                  “trafficked” in the Confiscated Property.
                                                  Regardless, the deprivation of “leverage” that was
                                                  created by a statute is not an injury that can support
                                                  Article III standing. See Spokeo, 136 S. Ct. 1547-
                                                  48; Thole, 140 S. Ct. at 1620-21; Muransky, 979
                                                  F.3d at 920-21; Glen, 2020 WL 4464665, at *2.
  “Defendants have injured Plaintiffs by          This is an inaccurate overstatement of the rights
  trafficking in the Confiscated Property         conferred under the Helms-Burton Act. At most, the
  without Plaintiffs’ authorization and without   Act recognizes a right of a limited subset of
  making any payment of compensation to           claimholders, who meet specific criteria, to be free
  Plaintiffs because in the Helms-Burton Act,     from third parties trafficking in their confiscated
  Congress provided the rightful owners of        property. It is simply inaccurate to characterize the
  confiscated property with the right to be       Helms-Burton Act as conferring a right on any and
  compensated from defendants who have            all claimholders to compensation for any and all
  economically exploited the confiscated          “economic[] exploit[ation]” of confiscated property.
  property.” Compl. ¶ 144(i).                     Regardless, though, even if the Helms-Burton Act
                                                  renders certain traffickers liable to certain original
                                                  owners of confiscated property, that does not mean
                                                  that all of those original owners are injured any time
                                                  a third party “traffics” in their confiscated property.
                                                  Glen, 2020 WL 4464665, at *2. Thus, the mere fact
                                                  that Plaintiffs have not been compensated is not, on
                                                  its own, a cognizable Article III injury.

           Notwithstanding the above, it is clear that Plaintiffs’ sole theory of injury is that Crowley

   has violated the Helms-Burton Act and the rights the Act purports to grant them. As binding case

   law from both the Supreme Court and the Eleventh Circuit make clear, however, that is not enough:

   “an injury in fact [must] accompan[y] a statutory violation[]” in order to support Article III

   standing. Muransky, 979 F.3d at 920-21, 930; Spokeo, 136 S. Ct. 1547-48; Thole, 140 S. Ct. at



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   1620-21; see also; Glen, 2020 WL 4464665, at *2. Accordingly, this Court lacks subject matter

   jurisdiction over Plaintiffs’ claim.

       II.      THE COMPLAINT FAILS TO STATE A CLAIM BECAUSE IT DOES NOT
                ADEQUATELY ALLEGE THAT CROWLEY HAS TRAFFICKED IN ANY
                CONFISCATED PROPERTY

             The Complaint should also be dismissed pursuant to Rule 12(b)(6) because it fails to state

   a claim. Federal Rule of Civil Procedure 8 requires that a pleading contain “a short and plain

   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “To

   survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient factual

   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

   556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

   “[N]aked assertions devoid of further factual enhancement” do not suffice. Id. And while courts

   must accept a plaintiff’s allegations as true when ruling on a motion to dismiss, “[l]egal

   conclusions without adequate factual support are entitled to no assumption of truth.” Mamani v.

   Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011).

             While the Complaint summarily concludes that Crowley is “trafficking” in Plaintiffs’

   Confiscated Property, the Plaintiffs’ allegations do not, as a matter of law, rise to “trafficking” as

   that term is defined under the Helms-Burton Act. Plaintiffs allege that the Cuban government

   confiscated, from Ms. Blanco de Fernandez and her siblings, several companies that owned

   approximately 11,000 acres of land and a 70-Year Concession. Compl. ¶¶ 87-103. The Complaint

   then alleges that the Cuban government “incorporated” that property into the ZEDM, and that

   Crowley “traffics” in it by calling at the container terminal. Compl. ¶¶ 106, 104-12, 114. 4




   4
    Aside from alleging that the Plaintiffs’ confiscated land now sits within the ZEDM (Compl. ¶ 109),
   Plaintiffs do not explain how any of the Confiscated Property was “incorporated” into the ZEDM.

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   Plaintiffs ultimately allege that Crowley “traffics” in the Confiscated Property because its

   container ships “call at, and/or otherwise use, benefit, and profit from the Container Terminal in

   the ZEDM including the ZEDM’s ports, docks warehouses, and facilities.” Id. ¶ 114. And that

   Crowley, “engage[s] in commercial activities using or otherwise benefitting from the Plaintiffs’

   Confiscated Property and acts of trafficking by the Container Terminal, AUSA and the ZEDM

   which make Crowley’s container business at the Port of Mariel possible and profitable.” Id.

          Even if those allegations are true, they do not state a claim for “trafficking” for three

   reasons. First, the Plaintiffs do not own a claim to the container terminal in which they allege

   Crowley “traffics” which is a prerequisite to stating a claim under Title III of the Helms-Burton

   Act. Second, the allegations of “trafficking” in the 70-Year Concession and the confiscated

   companies do not satisfy the definition of “traffics” under the Act. And third, the Complaint

   demonstrates that the lawful travel clause bars Plaintiffs’ claims.

              A. Plaintiffs Do Not Own a Claim to the Container Terminal or the 70-Year
                 Concession in Which They Allege Crowley “Traffics”

          Under the plain language of the Helms-Burton Act, Plaintiffs have failed to state a claim.

   Under the Act, “any person that . . . traffics in property that was confiscated by the Cuban

   Government on or after January 1, 1959, shall be liable to any United States national who owns

   the claim to such property.” 22 U.S.C. § 6082(a)(1)(A) (emphasis added). Thus, a defendant may

   only be held liable for “trafficking” by a plaintiff who “owns the claim” to the specific property in

   which the defendant “trafficked.” Id.

          Here, however, the Plaintiffs do not own a claim to the container terminal in which they

   allege Crowley “traffics.” First, even if Plaintiffs own a claim to the 70-Year Concession that was

   allegedly confiscated from them, there are no allegations that Crowley “traffics” in the 70-Year

   Concession. Rather, the Complaint states that Crowley “call[s] at, and/or otherwise use[s],


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   benefit[s], and profit[s] from the Container Terminal in the ZEDM including the ZEDM’s ports,

   docks, warehouses, and facilities.” Compl. ¶ 114. But Plaintiffs do not own a claim to the

   container terminal or the “ZEDM’s ports, docks, warehouses, and facilities.” Indeed, none of that

   property was ever owned by, or confiscated from, the Plaintiffs—it is property that did not even

   exist until nearly fifty years after the Plaintiffs’ property was allegedly confiscated. Compl. ¶ 107.

   Accordingly, because Plaintiffs do not own a claim to the container terminal in which they allege

   Crowley “traffics,” they fail to state a claim under the Helms-Burton Act. 5

          Second, documents referenced in the Complaint indicate that Ms. Blanco de Fernandez and

   her siblings did not own or have any other interest in the 70-Year Concession at the time their

   property was confiscated. 6     While Plaintiffs allege that the Confiscation Order “expressly



   5
     For these same reasons, Plaintiffs have failed to adequately allege the “knowingly and
   intentionally” element of a trafficking claim. See 22 U.S.C. § 6023(13)(A). Specifically, to
   “commit trafficking under the Act, a person must know that the property was confiscated by the
   Cuban government and intend that such property be the subject of their commercial behavior.”
   Glen, 2020 WL 4464665, at *6. As explained above, Crowley could not possibly have intended
   that any Confiscated Property “be the subject of [its] commercial behavior” because none of the
   Confiscated Property was the subject of its alleged commercial behavior. Id. Indeed, all of
   Plaintiffs’ “knowingly and intentionally” allegations involve Crowley sending ships to call at the
   Container Terminal at the Port of Mariel—something that did not exist until nearly fifty years after
   Plaintiffs’ property was allegedly confiscated. See Compl. ¶¶ 38, 113, 149.
   6
     Certified translations of the entire 70-Year Concession and Confiscation Order were recently
   filed by defendants in two other cases brought by the same Plaintiffs here and are attached as
   Exhibits 1 and 2 herein. See De Fernandez v. Seaboard Marine, LTD., No. 1:20-cv-25176-
   Bloom/Otazo-Reyes, ECF No. 63-1 (Exhibit A: 70-Year Concession and certified translation
   thereof), ECF No. 63-2 (Exhibit B: confiscation order and certified translation thereof) (S.D. Fla.
   May 11, 2021); De Fernandez v. A.P. Moller Maersk A.S, No. 2:21-cv-339 (E.D. La. July 6, 2021)
   (attaching same documents as Exhibits A and B to Motion to Dismiss, ECF Nos. 26-2, 26-3). The
   fact that Plaintiffs did not attach to the Complaint either the 70-Year Concession or the
   Confiscation Order, or the translations of those documents from which they quote, is inexplicable
   given their importance to this case. Nonetheless, the Court may consider them because they are
   central to the Plaintiffs’ claims and their authenticity is undisputed—indeed, Plaintiffs purport to
   quote from translations of the concession and the confiscation order throughout the Complaint and
   all of their claims are premised on those documents. Maxcess, Inc. v. Lucent Tech., Inc., 433 F.3d
   1337, 1340 n.3 (11th Cir. 2005).

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   nam[ed]” the 70-Year Concession (Compl. ¶ 98), that is not the case; the Concession is not

   expressly named in the section that details the property being confiscated. See Exhibit 2 at 1-4.

   The omission of the Concession from the Confiscation Order makes eminent sense because, as

   Plaintiffs conveniently omit from the Complaint, the 70-Year Concession contained several

   conditions which, if not satisfied, resulted in the complete forfeiture of the Concession. See Exhibit

   1 at 5-6 (such as the failure to: (1) within 18 months of the publication of the concession, begin

   constructing a new terminal, draining, dredging, and filling in parts of the bay, and realizing the

   machinery, devices, instruments, buildings, and equipment necessary to achieve those

   requirements; (2) within four years of the publication of the concession, complete those tasks; or

   (3) within one year of the publication of the concession, reach a financing agreement with the

   Cuban government). The Complaint contains no allegations that any of those conditions were

   satisfied and, therefore, fails to demonstrate that the Plaintiffs had any rights under the 70-Year

   Concession at the time they allege it was confiscated from them.

              B. The Allegations Do Not Raise a Plausible Inference that Crowley’s Alleged
                 Conduct Constitutes “Trafficking”

          Even if the allegations in the Complaint are true, Plaintiffs have not adequately pled that

   Crowley “traffics” in any confiscated property, as that term is defined under the Helms-Burton

   Act. A person “traffics” in confiscated property under the Helms-Burton Act if that person

   knowingly and intentionally:

          (i) sells, transfers, distributes, dispenses, brokers, manages, or otherwise disposes
          of confiscated property, or purchases, leases, receives, possesses, obtains control
          of, manages, uses, or otherwise acquires or holds an interest in confiscated property,
          (ii) engages in a commercial activity using or otherwise benefitting from
          confiscated property, or
          (iii) causes, directs, participates in, or profits from, trafficking (as described in
          clause (i) or (ii)) by another person, or otherwise engages in trafficking (as
          described in clause (i) or (ii)) through another person, without the authorization of
          any United States national who holds a claim to the property.


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   22 U.S.C. § 6023(13)(A).       Plaintiffs do not allege, because they cannot, that Crowley is

   “trafficking” in any confiscated property under subsection (i). Thus, the only question is whether

   Plaintiffs sufficiently allege that Crowley “traffics” in confiscated property as defined in

   subsections (ii) or (iii). They have not.

          The Complaint does not raise an inference that Crowley’s conduct meets the definition of

   “traffics” under subsection (ii) because it does not plausibly allege that Crowley, “engages in a

   commercial activity using or otherwise benefitting from” the 70-Year Concession or any of the

   other Confiscated Property. 22 U.S.C. § 6023(13)(A)(ii). With respect to the 70-Year Concession,

   the Complaint does not allege that Crowley “uses” or “benefits from” any of the rights enumerated

   in the concession because it does not allege that Crowley, “plan[s], stud[ies], execute[s],

   maintain[s], [or] exploit[s] [the] public docks and warehouses in the Bay of Mariel.” Compl. ¶ 89.

   Indeed, Plaintiffs could not possibly make such an allegation because, as they admit, the “public

   docks and warehouses” referenced in the 70-Year Concession no longer exist. See Comp. ¶ 107.

   Nor does the Complaint allege that Crowley has constructed any “new buildings or works” in the

   Bay of Mariel (another right purportedly granted by the 70-Year Concession). Compl. ¶ 89. While

   the Complaint alleges that Crowley calls at, and uses, the container terminal in the ZEDM, it does

   not allege—at least not with any specificity—that Crowley “uses” or “benefits from” any of the

   companies or the approximately 11,000 acres of land that were confiscated from the Plaintiffs. To

   be sure, the Complaint states that the confiscated land “cover[s] virtually every square meter of

   ZEDM sector A5, which the ZEDM operates as a logistics zone” (Compl. ¶ 109) and that Crowley

   containers are stored in a storage yard operated by the AUSA after they are offloaded from

   Crowley ships. Compl. ¶ 114. But the fact that the AUSA decides to store containers that were

   offloaded from Crowley ships on land that was allegedly confiscated from the Plaintiffs does not


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   mean that Crowley “uses” or “benefits from” that land; it cannot possibly be the case that Crowley

   “traffics” in every piece of property its containers touch from the moment they are offloaded in

   Cuba. Finally, the Complaint states that the Plaintiffs’ confiscated property was “incorporated”

   into the ZEDM. Compl. ¶ 106. This bald assertion—which fails to explain how such property

   was or could be incorporated into an economic zone like the ZEDM—is not enough to raise an

   inference that Crowley “uses” or “benefits from” the Confiscated Property (indeed, the Complaint

   leaves it to the imagination how Crowley could possibly “use” or “benefit from” confiscated

   companies or property that have not existed for over sixty years). Iqbal, 556 U.S. at 678 (“[N]aked

   assertions devoid of further factual enhancement” are insufficient to state a claim). Accordingly,

   the Complaint fails to allege that Crowley “traffics” in any confiscated property under 22 U.S.C.

   § 6023(13)(A)(ii).

          Similarly, the Complaint fails to allege that Crowley is “trafficking” in confiscated property

   under subsection (iii). That subsection provides that a person “traffics” in confiscated property if

   that person “causes, directs, participates in, or profits from, trafficking . . . by another person, or

   otherwise engages in trafficking . . . through another person[.]” 22 U.S.C. § 6023(13)(A)(iii). By

   alleging that Crowley “use[s], benefit[s], and profit[s] from the Container Terminal in the

   ZEDM[,]” (Compl. ¶ 114), Plaintiffs appear to suggest that because the ZEDM, the TCM, and

   AUSA are “trafficking” in the Plaintiffs’ Confiscated Property, then anyone who calls at the

   container terminal in the ZEDM is also “trafficking” in the Confiscated Property. But even under

   the exceptionally broad and vague definition of “trafficking” in 22 U.S.C. § 6023(13)(A)(iii), that

   is insufficient. Neither the allegation that Crowley calls at the container terminal, nor the

   allegations about how Crowley’s containers are offloaded and stored in the ZEDM, can properly

   be understood as allegations that Crowley “causes” or “directs” or “participates in” the ZEDM’s,



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   TCM’s, or AUSA’s alleged “trafficking.” Crowley neither caused nor directed the ZEDM, TCM,

   or AUSA to do anything related to Plaintiffs’ purported property; calling at the port does not mean

   that Crowley “participates in” the ZEDM’s, TCM’s, or AUSA’s alleged use of the Confiscated

   Property to develop and operate the port.

           Similarly, even if Crowley uses the container terminal in the ZEDM, that does not raise an

   inference that Crowley “profits from” the ZEDM’s, TCM’s, or AUSA’s alleged “trafficking.”

   Plaintiffs broadly, and with no factual support, suggest that because Crowley’s “container business

   at the Port of Mariel” is generally “profitable,” they are therefore “profiting” from the ZEDM’s,

   TCM’s, and/or AUSA’s trafficking. Compl. ¶ 114. But that cannot possibly be how Congress

   intended subsection (iii) to be interpreted. To be found liable for trafficking under subsection (iii)

   because a defendant “profits from” trafficking by another person, the defendant must actually

   profit from the third party’s trafficking in the confiscated property. Here, however, Crowley is not

   “profiting from” the ZEDM’s, TCM’s, and/or AUSA’s alleged use of the Confiscated Property

   simply because they call at the port and allegedly run a profitable business legally shipping goods

   to Cuba. Indeed, common sense would suggest the opposite—that Crowley pays the ZEDM,

   TCM, or AUSA to call at the container terminal, not that Crowley somehow “profits from” those

   entities’ development of, or operation of, the port. Iqbal, 556 U.S. at 679 (“Determining whether

   a complaint states a plausible claim for relief [is] a context-specific task that requires the reviewing

   court to draw on its judicial experience and common sense.”).

               C. The Complaint Raises an Inference That Crowley’s Conduct Does Not
                  Constitute “Trafficking”

           Not only do Plaintiffs fail to allege that Crowley “traffics” in the Confiscated Property, but

   the allegations make clear that Crowley’s alleged conduct does not constitute “trafficking” because

   its uses of the TCM container terminal are “incident to lawful travel to Cuba[.]” 22 U.S.C. §


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   6023(13)(B)(iii). Under the Helms-Burton Act, “trafficking” does not include “transactions and

   uses of property incident to lawful travel to Cuba, to the extent that such transactions and uses of

   property are necessary to the conduct of such travel[.]” Id. But “trafficking” is an essential

   element of any Helms-Burton Act claim, and, therefore, to state a claim, the plaintiff must plead

   facts that, if true, show that the defendant’s conduct falls within (and not outside of) the statutory

   definition of “traffics” under 22 U.S.C. § 6023(13). Tsao v. Captiva MVP Restaurant Partners,

   LLC, 986 F.3d 1332, 1337 (11th Cir. 2021) (“A plaintiff at the pleading stage, as the party invoking

   federal jurisdiction, bears the burden of establishing the[] elements [of the claim] by alleging facts

   that ‘plausibly’ demonstrate each element.”). 7

          Here, whether or not this Court finds that the “lawful travel” clause is an affirmative

   defense or a part of the “trafficking” element that the Plaintiffs must adequately plead, the

   allegations in the Complaint raise a plausible inference that Crowley’s conduct does not constitute

   trafficking, rather than a plausible inference that it does. Indeed, the Complaint acknowledges that

   Crowley “may claim to have one or more licenses issued by the United States Department of the

   Treasury Office of Foreign Assets Control for some or all of their shipments to Cuba[.]” Compl.



   7
     While two judges in this District have held that a Helms-Burton Act plaintiff need not plead that
   the defendant’s alleged “trafficking” was not “incident to lawful travel[,]” Crowley respectfully
   submits that those decisions are incorrect. See Garcia-Bengochea v. Carnival Corp., 407 F. Supp.
   3d 1281, 1286-88 (S.D. Fla. 2020); Havana Docks Corp. v. Carnival Corp., No. 19-cv-21724,
   2019 WL 8895241, *3 (S.D. Fla. Aug. 28, 2019). The “lawful travel” clause is not an exception
   to the liability provision of the Helms-Burton Act but rather incorporated in the definition of
   “traffics.” Compare 22 U.S.C. § 6023(13) (definitional section), with 22 U.S.C. § 6082 (liability
   section). If Congress intended for the “lawful travel” clause to create a statutory exception to
   liability, it would have included it in the liability provision of Title III, which separately
   enumerates the exceptions to liability. 22 U.S.C. § 6082. Absent a clear expression of
   Congressional intent, there is no reason to flip the burden of proof to defendants to prove that the
   alleged “trafficking” is lawful. Thomas v. George, Hartz, Lundeen, Fulmer, Johnstone, King, &
   Stevens, P.A., 525 F.3d 1107, 1110 (11th Cir. 2008) (“When a statute is silent as to who bears the
   burden of proof, we resort to ‘the ordinary default rule that plaintiffs bear the risk of failing to
   prove their claims.’”) (quoting Schaffer v. Weast, 546 U.S. 49, 56 (2005)).

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   ¶ 145. Plaintiffs then assert, without any support or explanation, that “any such licenses do not

   qualify Defendants to benefit from the lawful travel affirmative defense contained in 22 U.S.C. §

   6023(13)(B)(iii).” Id. Even if the “lawful travel” clause creates an affirmative defense, if a

   plaintiff affirmatively raises an inference that the defendant’s conduct is lawful, as the Complaint

   does here, the plaintiff must at least be required to explain, with more than a passing and

   unsupported legal assertion, the basis for its conclusion that the defendant’s conduct is unlawful.

   See Marsh v. Butler Cty., 268 F.3d 1014, 1022 (11th Cir. 2001) (en banc) (“A complaint is also

   subject to dismissal under Rule 12(b)(6) when its allegations—on their face—show that an

   affirmative defense bars recovery on the claim.”), abrogated in part on other grounds by Twombly,

   550 U.S. at 561-63. Plaintiffs fail to do so in the Complaint.

       III.      NONE OF THE PLAINTIFFS ARE ELIGIBLE TO SUE UNDER THE HELMS-
                 BURTON ACT

                 A. The Complaint Fails to Raise a Plausible Inference that Any of the Plaintiffs
                    Own a Claim to Any of the Property in Which they Allege Crowley “Traffics”

              In order to bring a trafficking claim under the Helms-Burton Act, a plaintiff must “own[]

   the claim to” the confiscated property in which the defendant allegedly “traffics.” 22 U.S.C. §

   6082(a)(1)(A). Here, Plaintiffs allege that Crowley “traffics” in the 70-Year Concession and

   approximately 11,000 acres of land. 8 But none of the Plaintiffs ever owned any of that property,

   nor do the vast majority of them allege that they otherwise acquired a “claim” to it.

              Rather, the Complaint is clear that the 70-Year Concession was granted to, and held by,

   Maritima Mariel SA, a company which was allegedly owned by Ms. Blanco de Fernandez and her


   8
     The Complaint also superficially alleges that Crowley “traffics” in the confiscated companies
   owned by Ms. Blanco de Fernandez and her siblings but does not explain what it means to “traffic”
   in a company or how Crowley could possibly be “trafficking” in a company that has not existed
   for sixty years.


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   siblings. Compl. ¶¶ 4, 89. According to the Complaint, the 11,000 acres of land was owned by

   Central San Ramón and Compañia Azucarera Mariel S.A., two other companies that were

   allegedly owned by them. Id. ¶ 4. The Concession and 11,000 acres of land were owned by the

   companies in which Ms. Blanco de Fernandez and her siblings held shares, not by the siblings

   themselves. Consequently, when those assets were allegedly confiscated, they could only be

   confiscated from the companies, not from the siblings or any of the other Plaintiffs here. 9

          Plaintiffs incorrectly assume that Ms. Blanco de Fernandez and her siblings must have

   acquired a claim to the 70-Year Concession and the 11,000 acres of land when the Cuban

   government confiscated those assets from the companies in which the siblings owned shares. This

   Court should not credit that assumption because it is flatly contradicted by the text of the Helms-

   Burton Act, which requires that in order to hold a defendant liable for trafficking, the plaintiff must

   own a claim to the specific property in which they allege the defendant traffics. 22 U.S.C. §

   6082(a)(1)(A). Plaintiffs here fail to do so. 10

             B. Even if the Individuals Named in the Confiscation Order Acquired Claims to
                 the Confiscated Property, the Only Proper Plaintiff is Odette Blanco de
                 Fernandez
          Even assuming Ms. Blanco de Fernandez and her siblings acquired a claim to the property


   9
    Indeed, the full Confiscation Order makes clear that the shares of Central San Ramon, Compañia
   Azucarera Mariel S.A., and Maritima Mariel SA were confiscated separate and apart from any
   property that was confiscated from the Blanco Rosell siblings individually. See Exhibit 2 at 1-4.
   10
      Crowley recognizes that two judges in this District have found that a plaintiff’s allegation of
   “indirect” ownership of confiscated property (i.e. the allegation that the property at issue was
   confiscated from a corporate entity that the plaintiff owned) was sufficient to survive a motion to
   dismiss. See Garcia-Bengochea, 407 F. Supp. 3d at 1289-90; Iglesias v. Ricard, No. 20-CV-
   20157, 2020 U.S. Dist. LEXIS 164117, *32-34 (S.D. Fla. Aug. 17, 2020). Crowley respectfully
   disagrees. The Helms-Burton Act says that only plaintiffs who “own[] the claim to” confiscated
   property may bring a Title III claim for trafficking. 22 U.S.C. § 6082(a)(1)(A). The Act gives no
   indication that Congress intended to allow every shareholder of a company that owned a claim to
   confiscated property to sue under Title III by virtue of the shareholders’ stake in the company.


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   owned by the companies that were allegedly confiscated, the only Plaintiff who, in theory, is

   eligible to bring a Helms-Burton Act suit is Odette Blanco de Fernandez. Accordingly, even if the

   Court finds that Ms. Blanco de Fernandez has standing and has stated a plausible claim for relief,

   the other seventeen Plaintiffs’ claims must be dismissed for failure to state a claim.

                      i. Other than Odette Blanco de Fernandez, none of the Plaintiffs acquired
                         their claims before March 12, 1996

          The Helms-Burton Act states: “In the case of property confiscated before March 12, 1996,

   a United States national may not bring an action under this section on a claim to the Confiscated

   Property unless such national acquires ownership of the claim before March 12, 1996.” 22

   U.S.C. § 6082(a)(4)(B) (emphasis added). As the Eleventh Circuit held in affirming this District’s

   grant of a motion to dismiss, “The language that Congress used in this provision is clear and

   unambiguous.” Gonzalez v. Amazon.com, Inc., 835 Fed. Appx. 1011, 1012 (11th Cir. Feb. 11,

   2021). Therefore, a plaintiff suing under the Helms-Burton Act must “plausibly allege that he

   acquired his claim to the property at issue in [the] case by March 12, 1996.” Id.; Glen, 2020 WL

   4464665, at *3-4 (dismissing Helms-Burton Act complaint for failure to state a claim because

   plaintiff had not inherited his claim prior to March 12, 1996); Glen v. Trip Advisor LLC, No. 19-

   cv-1809-LPS, 2021 WL 1200577, *7-9 (D. Del. Mar. 30, 2021) (same); Garcia-Bengochea v.

   Carnival Corp., No. 1:19-cv-21725-JLK, 2020 WL 4590825, *4 (S.D. Fla. July 9, 2020) (granting

   judgment on the pleadings because plaintiff had not inherited his claim prior to March 12, 1996).

   “The statute makes no distinctions with respect to the method of acquiring the claim.” Herederos

   de Roberto Gomez Cabrera, LLC v. Teck Resources Ltd., No. 20-cv-21630, 2021 WL 1648222, at

   *5 (S.D. Fla. Apr. 27, 2021) (citing Glen, 2021 WL 1200577, at *7).

          Here, it is clear from the face of the Complaint that none of the Plaintiffs other than Ms.

   Blanco de Fernandez acquired their claims before March 12, 1996. Of the seventeen Plaintiffs,


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   four purport to be the estates of Ms. Blanco de Fernandez’s deceased siblings (the “Estate

   Plaintiffs”), Compl. ¶¶ 10-13, and thirteen of those siblings’ descendants purport to sue in their

   personal capacities, each claiming that they inherited the four siblings’ claims to the Confiscated

   Property (the “Inheritance Plaintiffs”). Compl. ¶¶ 14-26. As the Complaint alleges, however, each

   of Ms. Blanco de Fernandez’s siblings died several years after 1996: Alfredo Blanco Rosell died

   on December 10, 2006 (id. ¶ 10); Byron Blanco Rosell died on February 25, 2001 (id. ¶ 11);

   Enrique Blanco Rosell died on November 27, 2014 (id. ¶ 12); and Florentino Blanco Rosell died

   on March 18, 2005 (id. ¶ 13). Thus, it is impossible that any of their descendants inherited claims

   to the Confiscated Property before March 12, 1996 (and the Complaint does not allege otherwise).

   Accordingly, the thirteen Inheritance Plaintiffs’ claims must be dismissed.

           The same is true with respect to the four Estate Plaintiffs. Because each of Ms. Blanco de

   Fernandez’s four siblings died after March 12, 1996, none of their estates existed before that date,

   so they cannot be said to have “acquire[d] ownership of” a claim to the Confiscated Property before

   that date. 22 U.S.C. § 6082(a)(4)(B). In other words, to the extent the Estate Plaintiffs have a

   claim to the Confiscated Property, that claim vested after March 12, 1996, and, therefore, they are

   ineligible to sue under Title III. Glen, 2021 WL 1200577, at *9 (citing Iglesias, 2020 U.S. Dist.

   LEXIS 164117, at *35 n.11 (requiring plaintiff to show in amended complaint that interest was

   transferred or vested prior to March 12, 1996)). Accordingly, the Court must dismiss the

   Inheritance Plaintiffs’ and the Estate Plaintiffs’ claims for failure to state a claim. 11



   11
      Moreover, the Complaint does not allege any facts to demonstrate that any of these Plaintiffs—
   either the Inheritance or the Estate Plaintiffs—hold claims to the Confiscated Property at all. If
   any of them, in fact, hold claims to the Confiscated Property, the Complaint does not explain how
   they acquired them. Instead, the Complaint betrays the Plaintiffs’ own apparent uncertainty about
   whether or how any of the Plaintiffs (other than Ms. Blanco de Fernandez) acquired a claim to the
   Confiscated Property by nakedly asserting that “[t]o the extent that [Ms. Blanco de Fernandez’s
   siblings’] claim[s] do[] not remain with [their] Estate[s]” their descendants “inherited and own[] a

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                      ii. The Estate Plaintiffs are not proper plaintiffs under the Act

          Moreover, under a plain reading of the Helms-Burton Act, the four Estate Plaintiffs are

   ineligible to sue. The Helms-Burton Act limits its private right of action to a “United States

   national,” defined as “(A) any United States citizen; or (B) any other legal entity which is

   organized under the laws of the United States, or of any State, the District of Columbia, or any

   commonwealth, territory, or possession of the United States, and which has its principal place of

   business in the United States.” 22 U.S.C. § 6082(a)(1)(A); 22 U.S.C. § 6023(15). While it is true

   that in some circumstances an estate or its representative may constitute a proper plaintiff, an estate

   is not a proper plaintiff under the Helms-Burton Act because it is neither a “United States citizen”

   nor a legal entity that fits the requirements set forth in 22 U.S.C. § 6023(15)(B).

          In addition to the plain definition of “United States national” which makes clear that an

   estate is not a proper plaintiff, the Helms-Burton Act, when read as a whole, demonstrates that

   Congress did not intend for claims to survive forever in the estates of deceased claimholders.

   Indeed, as explained in more detail above, Congress explicitly and unambiguously barred recovery

   under the Helms-Burton Act for any U.S. nationals who inherited a claim to Confiscated Property

   after March 12, 1996. Gonzalez, 835 Fed. Appx. at 1012. In doing so, Congress expressed its

   clear intent to make Helms-Burton Act relief available only to those potential plaintiffs who held

   valid claims before March 12, 1996 and not to their descendants or the beneficiaries of their estates.

   Allowing descendants of deceased claimants to sue in their capacities as administrators of their

   ancestors’ estates would frustrate this congressional intent and provide a loophole to recovery for

   plaintiffs who Congress expressly barred from recovery. Accordingly, the four Estate Plaintiffs



   portion of that claim.” Compl. ¶¶ 14-26. No factual allegations support the alternative assertions
   in the Complaint—either that Ms. Blanco de Fernandez’s siblings’ claims passed to their
   descendants or that they did not and remain with the siblings’ estates.

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   are not proper plaintiffs under the Helms-Burton Act, and the Court must dismiss their claims.

      IV.      TITLE III VIOLATES THE DUE PROCESS CLAUSE BECAUSE ITS VAGUE
               LIABILITY PROVISIONS LEAD TO EXCESSIVE AND ARBITRARY
               PENALTIES

            The Helms-Burton Act’s Title III liability and penalty provisions are facially

   unconstitutional. Title III provides for claims against those who “traffic” in confiscated property

   for the value of the property at the time of confiscation, plus interest, as well as the possibility of

   treble damages and legal fees, irrespective of the amount of economic benefit derived by the person

   being held liable.     This is incongruous with the Act’s congressionally-stated purpose to

   compensate U.S. nationals and “to deter trafficking in wrongfully confiscated property” in a way

   “that would deny traffickers any profits from economically exploiting Castro’s wrongful seizures.”

   22 U.S.C. § 6081(11).

            The Due Process Clause of the Fourteenth Amendment prohibits imposing “grossly

   excessive or arbitrary punishments” on civil defendants. State Farm Mut. Auto Ins. Co. v. Campbell,

   538 U.S. 408, 416 (2003). The Supreme Court has, for a century, held that a civil remedy fixed by

   Congress violates due process where a penalty is “so severe and oppressive as to be wholly

   disproportioned to the offense and obviously unreasonable.” Golan v. FreeEats.com, Inc., 930 F.3d

   950, 962 (8th Cir. 2019) (quoting St. Louis, I.M. & S. Ty. Co. v. Williams, 251 U.S. 63, 67 (1919))

   (applying this standard as “still good law,” and reducing the “shockingly large” fixed statutory award

   ($1.6 billion) for class TCPA violations based on defendant-caller’s belief that it was complying

   with an unsettled statutory scheme and the class’s lack of injury from the calls).

            Title III’s remedy is exactly the kind of punitive and arbitrary, rather than compensatory,

   penalty that the Due Process Clause prohibits. Congress did not offer any justification—nor could




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   it—for a scenario in which a company could be held liable for the fair value of property confiscated

   sixty years ago by the Cuban government. 12

          Moreover, the arbitrary and oppressive nature of Title III’s penalty provisions are made

   worse by the facially and unconstitutionally vague definition of “traffics” in the Act. Subsections

   (ii) and (iii) of 22 U.S.C. § 6023(13)(A) subject defendants to liability for indirect, rather than

   direct, forms of “trafficking” (i.e. merely “using” or “benefiting from” or “profiting from”

   confiscated property). But these provisions are so vaguely defined, and they stretch so far beyond

   conduct that causes harm to owners of a claim to confiscated property, that they preclude anyone

   from knowing or deciphering what it means to “traffic” in property. 13 Not only are subsections

   (ii) and (iii) of Section 6023(13)(A)’s definition of “traffics” unconstitutionally vague, but because

   the indirect “trafficking” they purport to punish is so unrelated to any harm caused to claimholders,

   imposing Title III’s extreme penalty provisions on indirect “traffickers” will never be

   commensurate with the harm such “trafficking” purportedly causes.

          Indeed, the Plaintiffs here do not seek an award based on the amount of any harm Crowley

   caused them, nor any “profits” Crowley allegedly gained from “trafficking.” Instead, Plaintiffs



   12
     The arbitrariness of this right of action is further demonstrated by the fact that a claimant’s
   ability to be compensated for confiscated property disappears the moment the U.S. government
   believes the Cuban government ceases to be socialist. See 22 U.S.C. § 6082(h)(1)(B).
   13
      “[A] law [violates] the Due Process Clause if it is so vague and standardless that it leaves the
   public uncertain as to the conduct it prohibits or leaves judges and jurors free to decide, without
   any legally fixed standards, what is prohibited and what is not in each particular case.” Giaccio v.
   State of Pa., 382 U.S. 399, 402-03 (1966). The Due Process Clause’s demand for fair notice, often
   applied to criminal statutes, applies equally to civil statutes that are punitive and raise a stronger
   “need for clarity.” Sessions v. Dimaya, 138 S. Ct. 1204, 1212-13 (2018); see FCC v. Fox
   Television Stations, Inc., 567 U.S. 239, 253 (2012) (“the void for vagueness doctrine addresses at
   least two connected but discrete due process concerns: first, that regulated parties should know
   what is required of them so they may act accordingly; second, precision and guidance are necessary
   so that those enforcing the law do not act in an arbitrary or discriminatory way.”).


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   seek the fair market value of all of the Confiscated Property, trebled, from Crowley and several

   other companies who allegedly “traffic” in the Confiscated Property. 14 Compl. ¶ 167. It is

   inconceivable that, if Plaintiffs are successful in each of their suits, a multi-billion dollar windfall

   is the proper remedy to either (1) compensate them for the value of the Confiscated Property or

   (2) “deny traffickers any profits” earned specifically from “trafficking”—yet, this is precisely how

   Plaintiffs (and others) interpret the statute. Congress intended for Title III to provide an immediate

   deterring effect, not a multi-decade suspension resulting in the exponential growth of potential

   claims. 15 Punishing a company for purportedly “trafficking”—merely because it called at the Port

   of Mariel in the course of delivering shipments that were explicitly authorized by the U.S.

   government—by making it liable for more than $1 billion, apparently three-times the value of

   property that was taken by the Cuban government more than sixty years ago—is arbitrary and

   oppressive. State Farm Mut. Auto Ins. Co., 538 U.S. at 416; Golan, 930 F.3d at 962. Accordingly,

   any award under Title III fails to serve its congressionally-stated purpose, imposes a grossly

   disproportionate penalty, violates Crowley’s due process rights, and is unconstitutional.

                                               CONCLUSION

             For the foregoing reasons, Crowley respectfully requests that this Court enter an order

   granting this motion and dismissing the Second Amended Complaint, in its entirety, with prejudice.




   14
        Plaintiffs have filed two other lawsuits seeking similar relief. See supra footnote 6.
   15
         See Phil Peters, Cuba Research Ctr. (Dec. 13, 2018), available at
   https://www.cubastandard.com/analysis-activating-title-iii-of-helms-burton/ (“[The Act] is not
   really about satisfying property claims . . . [T]he law’s authors aimed to damage Cuba’s economy
   at a time when it was ‘vulnerable to international economic pressure.’”).

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                                       REQUEST FOR HEARING

           Crowley respectfully submits that oral argument will be beneficial to adequately argue the

   merits of this motion and that it will significantly aid this Court in the decisional process, especially

   given the novelty of litigation under Title III of the Helms-Burton Act. Crowley estimates that

   one hour will be required for the hearing.


   DATED: July 20, 2021                            Respectfully submitted,


                                                   /s/ James Douglas Baldridge
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 20th day of July, 2021, a copy of the foregoing Motion to

   Dismiss the Second Amended Complaint and Incorporated Memorandum of Law was filed

   through the Court’s CM/ECF system and electronically served on counsel for the Plaintiffs.



                                                      /s/ James Douglas Baldridge
                                                      James Douglas Baldridge




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